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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
                                                    -X
  UNITED STATES OF AMERICA,

                                                             MEMORANDUM & ORDER
                                                             15-CR-0287-6(WFK)
  DERRICK BIENAIME,

                               Defendant.
                                                     -X


  WILLIAM F. KUNTZ,II, United States District Judge:

  On September 13, 2016, Derrick Bienaime pleaded guilty to Bank Fraud Conspiracy and Bank
  Fraud against three banks. The Court now sentences him and provides a complete statement of
  reasons pursuant to 18 U.S.C. § 3553(c)(2)ofthose factors set forth by Congress and the President
  and contained in 18 U.S.C. § 3553(a). For the reasons discussed below, Derrick Bienaime is
  hereby sentenced to 33 months of incarceration, 2 years of supervised release, and payment of
  restitution, a forfeiture money judgment of $1,000,000.00, and a $400.00 special assessment.
                                         BACKGROUND


         On July 15,2015,the United States filed a seventy-five count Superseding Indictment
  against twenty-three defendants, including Derrick Bienaime ("Defendant"). See Superseding
  Indictment, ECF No.48. On September 13, 2016, Defendant pleaded guilty to Counts Sixty-
  Five, Sixty-Six, Sixty-Seven, and Sixty-Nine of the Superseding Indictment, which charged
  Bank Fraud Conspiracy and Bank Fraud against three banks. See Plea Agreement H 1, ECF No.
  347.


          The Court hereby sentences Defendant and sets forth its reasons for Defendant s sentence
  using the rubric ofthe 18 U.S.C. § 3553(a)factors pursuant to 18 U.S.C. § 3553(c)(2).
                                            DISCUSSION


  I.      Legal Standard

          18 U.S.C. § 3553 outlines the procedures for imposing sentence in a criminal case. If and
  when a district court chooses to impose a sentence outside ofthe Sentencing Guidelines range.
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 the court "shall state in open court the reasons for its imposition of the particular sentence, and ..

 . the specific reason for the imposition ofa sentence different from that described" in the

  Guidelines. 18 U.S.C. § 3553(c)(2). The court must also "state[] with specificity" its reasons for

  so departing "in a statement of reasons form[.]" Id.

         "The sentencing court's written statement ofreasons shall be a simple,fact-specific
  statement explaining why the guidelines range did not account for a specific factor or factors
  under § 3553(a)." United States v. Davis,08-CR-0332,2010 WL 1221709, at *1 (E.D.N.Y.
  Mar. 29,2010)(Weinstein, J.). Section 3553(a) provides a set of seven factors for the Court to
  consider in determining what sentence to impose on a criminal defendant. The Court addresses
  each in turn.


  II.     Analysis

          A. The Nature and Circumstances of the Offense and the History and
             Characteristics of the Defendant

          The first § 3553(a)factor requires the Court to evaluate "the nature and circumstances of
  the offense and the history and characteristics ofthe defendant." 18 U.S.C. § 3553(a)(1).
          Defendant, now twenty-one years old, was bom in Brooklyn, New York on July 4,1995.
  Presentence Investigation Report("PSR")H 41,ECF No. 390. His parents separated when he
  was two years old, and Defendant was raised by his mother in a lower-middle income household
  in Brooklyn, but he saw his father every weekend until his father moved to Haiti in 2005. Id. H
  41,44. After his father left the United States, Defendant had little contact with him,and his
  father provided limited support for Defendant. Id. H 44. Defendant's six siblings remain
  supportive of Defendant despite his criminal history. Id. K 43.
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         When Defendant was growing up, his mother worked long hours at two different jobs, so

 she was often unable to supervise him after school. Id. ^ 44. Despite his mother's best efforts.

  Defendant was unchaperoned much ofthe time during his youth and started to associate with
  older individuals in the neighborhood who were a bad influence on him. Id. ^ 63. According to

  his mother, Defendant was a "follower" and only became involved in the instant offense because

  he surrounded himself with the wrong people. Id. H 42.

         Defendant was an average student who earned good grades in reading and math, but he
  stated that he engaged in truancy starting in elementary school because he did not receive much
  parental guidance. Id. H 63. Defendant attended several different public schools and was held
  back twice in the fifth grade because he did not complete his homework assignments and was
  often absent. Id. In 2005, at the age often. Defendant was diagnosed with and prescribed
  medication for Attention Deficit Disorder and Attention Deficit Hyperactivity Disorder. Id. fll
  54,63. He stopped taking the medication after two years, however, because it affected his
  appetite and made him very tired. Id. Defendant first smoked marijuana at the age oftwelve and
  smoked daily from the age offifteen until his arrest for the instant offense. Id. H 57.
         From 2011 to 2012, Defendant attended the ninth and tenth grades at Abraham Lincoln
  High School in Brooklyn, but he eventually withdrew because "school was not for [him]." Id. H
  62. During the same period. Defendant also worked part-time at a bakery until he resigned
  because he was not earning enough money. Id. H 65. From 2013 to 2014, Defendant was
  enrolled in automobile and medical support courses at Job Corps in Brooklyn, but he was
  expelled from the program for fighting and smoking marijuana. Id. H 61.
          In 2014, at the age of nineteen. Defendant was arrested for striking a livery cab driver and
  fleeing to avoid payment of the fare; a bench warrant was issued for his arrest in 2015. M 138.
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  Defendant was also arrested in 2014 for possession of marijuana and received a conditional

  discharge. Id. 35. When Defendant was twenty years old, his mother moved him and his

  siblings from Brooklyn to New Jersey in order to separate him from "those individuals that cause

  the trouble." Id.   42,46. Prior to his arrest for the instant offense. Defendant was enrolled in a

  high school equivalency preparation program at Long Island University in Brooklyn. Id. H 60.
  Defendant has never married and does not have any children. Id. H 45.

         In or around 2014, Defendant became a member ofthe gangs Eight Trey and Shoota

  Gang as well as an associate ofthe Outlaw Gangsta Crips("OGC"). M ^ 15. The OGC was a
  gang comprised primarily of individuals residing in and around the East Flatbush neighborhood
  of Brooklyn and was a subgroup ofthe Crips gang. Id. H 7. Members and associates of OGC
  have engaged in drug trafficking, fraud, firearms trafficking, promoting prostitution, and acts of
  violence, including murder, attempted murder,robbery, and assault. Id. The purposes of OGC
  included enriching the gang; promoting and enhancing the gang's prestige, reputation, and
  position among rival gangs; preserving and protecting the gang's power,territory, and criminal
  ventures; maintaining fear ofthe gang in their victims and rivals; and concealing the gang's
  criminal activity from law enforcement. Id.

          Throughout 2014 and the first half of2015,Defendant and other associates and/or
  members ofthe OGC used fraudulent checks to commit bank fraud. Id.           1-4,10-13,15. After
  obtaining legitimate checks from co-conspirators. Defendant and others would create fraudulent
  checks bearing the same account and routing numbers. Id^W. The fraudulent checks, which
   appeared to be issued by legitimate businesses, would be deposited into the bank accounts of
   unindicted co-conspirators via ATMs,id.., whereupon the banks would make a portion ofthe
   deposited money immediately available for withdrawal, id. 112. Using their co-conspirator
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  account-holders. Defendant and others would then withdraw the available money, usually

  hundreds of dollars at a time, which represented fraudulently obtained funds. Id. H 12. Once the

  banks or purported check writers identified the deposits as fraudulent, the banks would assume

  the loss on behalf of the defrauded check writers. Id.

         As part ofthe conspiracy, Defendant and others defrauded several banks throughout New
  York City and elsewhere, including Bank of America, JPMorgan Chase, and TD Bank. Id. Iffl 1-
  4,13, 15. The total loss to the victim banks exceeded $550,000.00. Id.      13, 15.

         Defendant was arrested in New Jersey on July 16, 2015. M ^ 15. During his

  incarceration. Defendant has enrolled in a high school equivalency program, as well as courses in
  anger management,health, and chess, at the Metropolitan Detention Center. Id.         47, 59. He
  has also incurred several infractions, including for possessing a sharpened metal weapon, which
  has been his most severe charge. Id. ^ 47.

          B. The Need for the Sentence Imposed

          The second § 3553(a)factor instructs the Court to consider "the need for the sentence
  imposed(A)to reflect the seriousness of the offense, to promote respect for the law, and to
  provide just punishment tor the offense^(B)to afford adequate deterrence to criminal conduct,
  (C)to protect the public from further crimes ofthe defendant; and(D)to provide the defendant
  with needed educational or vocational training, medical care, or other correctional treatment in
  the most effective manner." 18 U.S.C. § 3553(a)(2).

          Defendant's crime both defrauded banks and helped to fund unlawful gang activity. The

  Court's sentence recognizes the seriousness ofthis offense and punishes Defendant accordingly.
   It seeks to deter Defendant from further criminal activity and encourage him to sever his ties to
   Eight Trey, Shoota Gang,and the OGC. In a more general way,the Couit's sentence sends a
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  message to other gang members that a life of crime carries a risk of punishment that outweighs

 any potential gains. Finally, it also considers Defendant's young age, desire to pursue his
  education, and need for surgery to treat a medical problem.

         C. The Kinds of Sentences Available

         The third § 3553(a)factor requires the Court to detail "the kinds of sentences available"

  for Defendant. 18 U.S.C. § 3553(a)(3).

         Defendant pleaded guilty to one count of Bank Fraud Conspiracy,in violation of 18
  U.S.C. § 1349, and three counts of Bank Fraud, in violation of 18 U.S.C. § 1344. For each
  count, he faces a maximum term ofimprisonment ofthirty years. See 18 U.S.C. §§ 1344,1349.
  Defendant also faces a maximum term ofsupervised release offive years, id § 3583(b)(1); a

  maximum fine of$1,000,000.00 per count, id § 3571(b); restitution in an amount to be
  determined, id. § 3663A; and a special assessment of$400.00, id. § 3013. Under the plea
  agreement. Defendant faces a forfeiture money judgment of$1,000,000.00. See Plea Agreement
  116-13.

          D. The Kinds of Sentence and the Sentencing Range Established For Defendant's
             Offenses


          The fourth § 3553(a)factor requires the Court to discuss "the kinds of sentence and the
  sentencing range established for ... the applicable category of offense committed by the
  applicable category of defendant as set forth in the guidelines[.]" 18 U.S.C. § 3553(a)(4)(A).
          Guidelines § 2B1.1 applies to violations of 18 U.S.C. § 1344 and sets a base offense level
  ofseven. See United States Sentencing Commission, Guidelines Manual,§ 2B 1.1(a)(1)(Nov.

  2016)("USSO"). Because the instant offense involved a loss of more than $550,000.00,
  fourteen levels are added. Id. § 2B1.1(b)(1)(H). Defendant's acceptance of responsibility by
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 pleading guilty, however, permits a three-level reduction. Id, § 3El.l(a),(b). Accordingly,

 Defendant's total offense level is eighteen.

         Defendant's prior adult conviction for possession of marijuana provides for a criminal

 history score ofzero, which corresponds to a criminal history category of one. Id. ch. 5, pt. A.

         Given a total offense level of eighteen and a criminal history category of one,the

  Guidelines suggest a term ofimprisonment of between twenty-seven and thirty-three months. Id.
  Defendant may also be sentenced to a term ofsupervised release oftwo to five years, id. §
  5D1.2(a)(1); a fine of between $6,000.00 and $4,000,000.00, id. § 5E1.2(c)(4),(h)(1); and
  payment of the costs of prosecution, id. § 5E1.5. The Guidelines further suggest Defendant is
  ineligible for probation. Id. § 5B 1.1(b)(1).

         The U.S. Probation Department recommends a sentence of thirty-three months of
  imprisonment followed by two years of supervised release with special conditions. See Sentence
  Recommendation at 1, ECF No. 390-1. Defense counsel seeks a sentence oftwenty-seven

  months of imprisonment and requests that the Court consider Defendant's young age, difficult
  upbringing, learning disability, and medical problems when determining his sentence. See Def.'s
  Sentencing Mem. at 1-3, ECF No.408. Counsel further notes Defendant has been "consistently
  remorseful" and "has the love, encouragement, and support from his family that he will need to
  ensure that he leads a productive, lawful life." Id. at 1,3. The government requests a sentence
  within the advisory Guidelines range oftwenty-seven to thirty-three months. See Gov't
  Sentencing Mem. at 1, ECF No. 410.
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         E. Pertinent Policy Statenient(s) of the Sentencing Commission

         The fifth § 3553(a)factor, requiring the Court to evaluate "any pertinent policy statement

 ... issued by the Sentencing Commission," 18 U.S.C. § 3553(a)(5), is not relevant to

  Defendant's sentencing.

         F. The Need to Avoid Unwarranted Sentence Disparities

         The sixth § 3553(a)factor requires the Court to consider "the need to avoid unwarranted
  sentence disparities among defendants with similar records who have been found guilty of
  similar conduct." 18 U.S.C. § 3553(a)(6).

         Defendant is one of twenty-three defendants to be sentenced in this case, and the Court

  will craft a unique sentence for each defendant. For the reasons stated in this memorandum and
  order, and considering the other six § 3553(a)factors, the Court's sentence avoids unwarranted
  sentence disparities.

         G. The Need to Provide Restitution

         Lastly, the seventh § 3553(a)factor requires the Court to touch upon "the need to provide
  restitution to any victims of the offense." 18 U.S.C. § 3553(a)(7). Restitution is required under
  the Mandatory Victim Restitution Act of 1996. Id. § 3663A. Two ofthe three victim banks
  have not yet submitted affidavits ofloss, however, so the specific amounts owed to the
  individual victims is currently unknown. See PSR      14, 85. The Court will consider any
  Affidavits upon their submission.

                                          CONCLUSION


          A sentence of 33 months ofincarceration, to be followed by 2 years ofsupervised

  release, as well as payment ofrestitution in an amount to be determined, a forfeiture money
  judgment of $1,000,000.00, and a $400.00 special assessment is appropriate and comports with
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 the dictates of § 3553. This sentence is consistent with, and is sufficient but no greater than

  necessary to accomplish, the purposes of § 3553(a)(2).

         The Court expressly adopts the factual findings ofthe Presentence Investigation Report

  and addendum to it and imposes the special conditions of release proposed by the Probation
  Department.

                                                       SO ORDERED.



                                                             s/WFK

                                                       HON. WILLIAM F.
                                                       UNITED STATES                    JUDGE


  Dated: April 18, 2017
         Brooklyn, New York
